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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

In re: Vioxx® MDL Docket No. 1657
Product Liability Litigation
SECTION L
This document relates to:
George A. Hutchens, Jr., et al. JUDGE FALLON

V.

Merck & Co., Inc. MAGISTRATE JUDGE KNOWLES

Docket No. 2:05-cv-01788

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ORDER OF DISMISSAL WITH PREJUDICE

Considering the foregoing Stipulation of Dismissal With Prejudice,

IT IS ORDERED that the claims of plaintiffs George A. Hutchens, Jr. and Nancy
Hutchens in the above-captioned case be and they hereby are dismissed with prejudice with each
party to bear his or her own costs.

NEW ORLEANS, LOUISIANA, this day of , 2011.

DISTRICT JUDGE
